Case 2:04-cv-02427-.]PI\/|-STA Document 26 Filed 05/18/05 Page 1 of 2 Page|D 39

   

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WESTERN DISTRICT OF TENNESSEE:

WESTERN DIVISION

TERRY VICKERS JU'DGMENT IN A CIVIL CASE
VS
CI'I`Y OF MEMPHIS, MEMPHIS

FIRE DEPARTMENT, MIKE
LAMBER'I`, and EDDIE MORGAN. CASE NO: 04-2427 Ml/An

 

This action having been diemiesed by the partiee:

IT IS SO ORDERED AND ADJ GED that, in accordance With the Order cf
Diemieeal filed, May , 2005, this case is DISMISSED With
prejudice with each party to bear its OWn coete.

APPROVED:

wm OM

PI-IIPPS MCCALLA
UN 'I'ED STATES DISTRICT COURT

me 13. 20‘>§ F:UBERT R. nlm&tt»:)

Date (/) Clerk cf Court

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This document entered on the docket sheet In compliance `
with eula 58 and/or rem FRCP on 5 ;£?Q_C/

TAES DISTRICT OURT WESTENRDT"ISRIC oF TENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

